This is an application for leave to appeal from refusal of a writ of habeas corpus. The applicant was tried in the Criminal Court of Baltimore City upon a charge of burglary and sentenced to seven years in the House of Correction. He contends that the indictment upon which he was tried was not a "true indictment", because it alleged that he was "found in and upon the dwelling *Page 710 
house of Saul Emmer, 1111 St. Paul Street, on the 6th day of April", whereas he was not arrested until April 18, 1948. The circumstances of his arrest are immaterial. The accused was represented by counsel of his own selection, but no appeal was taken. As we have said so often, the weight or sufficiency of the evidence cannot be reviewed in this proceeding.
Application denied, without cost.